     Case 2:09-cr-00015-EFS    ECF No. 965   filed 08/07/09   PageID.3226 Page 1 of 1




 1
 2
                               UNITED STATES DISTRICT COURT
 3                            EASTERN DISTRICT OF WASHINGTON
 4
       UNITED STATES OF AMERICA,                )
 5                                              )     No. CR-09-015-EFS-23
                         Plaintiff,             )
 6                                              )     ORDER GRANTING IN PART
       v.                                       )     MOTION TO MODIFY
 7                                              )
       NICHOLAS SCOTT CASSELL                   )
 8                                              )
                         Defendant.             )
 9                                              )

10          At the August 7, 2009, hearing on Defendant’s Motion to modify

11    conditions of release (Ct. Rec. 950), Assistant U.S. Attorney

12    Russell Smoot represented the United States.               Attorney David Miller

13    represented the Defendant, who waived his right to be present.

14          IT IS ORDERED that Defendant’s Motion (Ct. Rec. 950) is GRANTED

15    in part as follows:

16          1.    Defendant shall not be subject to home detention or curfew

17    from today through 10:00 p.m., Saturday August 15, 2009, to permit

18    travel for his honeymoon.              Defendant shall provide, prior to

19    leaving, to Pretrial Services all information as to his destination.

20          2.    From Saturday, August 15, 2009, Defendant shall be subject

21    to a curfew of 10:00 p.m. to 6:00 a.m.

22          3.    All employment arrangements must be with prior permission

23    of Defendant’s treatment provider and Pretrial Services.

24          All other conditions of release shall remain in full force and

25    effect.

26          DATED August 7, 2009.

27
28                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE

     ORDER GRANTING IN PART MOTION TO MODIFY - 1
